           Case 2:23-cv-01409-APG-EJY Document 4 Filed 09/13/23 Page 1 of 1




 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 KRISHNA OKHANDIAR,                                       Case No.: 2:23-cv-01409-APG-EJY

 4          Plaintiff                                    Order Striking Certificate of Interested
                                                                        Parties
 5 v.

 6 REMILIA CORPORATION LLC, et al.,

 7          Defendants

 8         I ORDER that the plaintiffs’ certificate of interested parties (ECF No. 2) is STRICKEN

 9 for failure to comply with Federal Rule of Civil Procedure 7.1(a)(2). The certificate does not

10 identify the citizenship of the plaintiffs as required by the amendment to that rule.

11         I FURTHER ORDER the plaintiffs to file a proper certificate of interested parties by

12 September 22, 2023.

13         DATED this 13th day of September, 2023.

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                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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